                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE

                                                        :
 REALYA MANAGEMENT, LLC,                                :
 REALYA FUND RVIII LLC,                                 :
 LOT REALYA HOLDINGS, LLC,                              :   CIVIL ACTION
 LOT REALYA INVESTORS LLC,                              :
 LOT REALYA EQUITY LLC;                                 :   Case No. 1:23-cv-00142 -GBW
                                                        :
    Plaintiffs,                                         :
                                                        :
        v.                                              :
                                                        :
 IMOVINA GROUP, LLC                                     :
                                                        :
    Defendant, and                                      :
                                                        :
 LATEXOK JV PARTERS LLC and                             :
 LATEXOK MANAGER, LLC,                                  :
                                                        :
 Nominal Defendants.                                    :
                                                        :

       State of Illinois        )
                                ):ss:
       Cook County              )

                             DECLARATION OF COLIN MCCLARY

       I, Colin McClary, depose and state the following under the penalties of perjury:

       1.         My name is Colin McClary. I currently reside in Elmhurst, Illinois.

       2.         I am over the age of 18 and have personal knowledge of the facts stated herein.

       3.         I am a Managing Director at MorrisAnderson & Associates, Ltd. (“MA”), which is

a national consulting firm providing financial advisory, interim management, investment banking

and fiduciary services. MA was paid for our services in this case based upon our standard hourly

rates and our compensation was not dependent upon the results of my opinion or analysis.
        4.      MA has substantial experience providing expert witness testimony and forensic

accounting analysis and opinions.

        5.      My biography and list of representative engagements are attached as Exhibit 1.

        6.      William Dorsey of Blank Rome LLP, on behalf of the Plaintiffs in this proceeding,

retained MA to review and analyze certain books and records of Latexok JV Partners LLC

(“Latexok”), and the four single-purpose subsidiary LLCs owned by Latexok that own title to

certain real properties.

        7.      The records reviewed were primarily contained within web-based real estate

management and accounting software known as “Real Page” that were made available by Imovina

Group LLC. The Real Page data that MA reviewed did not include back-up documentation such

as bank records or copies of leases or vendor contracts. MA did not have access to Latexok’s bank

records or those of its subsidiaries. I understand that Blank Rome requested access to those records

from Defendant and that access was not provided. Imovina Group LLC also declined to make

their representatives available to answer our questions regarding the Real Page data and entries.

        8.      MA also reviewed documents, including the operating agreements of Latexok and

its manager entity, Latexok Manager LLC, and a Latexok “Business Plan” agreed to between

Plaintiffs and Defendant (whom I understand to be the members of Latexok).

        9.      A summary of MA’s preliminary findings and conclusions regarding Latexok’s and

its property-owning entities’ losses, cash balances, accounts receivable, and payment of

management fees is attached as Exhibit 2. I discuss these and other certain issues below.

        10.     Financial reports downloaded from Real Page indicated that the four property

owning entities of Latexok

                                                               . The Business Plan had projected



                                                 2
to the “Equity” page of Latexok’s Real Page, stating that MA is not authorized to view this tab in

Real Page. Thus, MA was unable to review it.




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